Case 2:05-cr-20076-BBD Document 50 Filed 07/20/05 Page 1 of 2 Page|D 53

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UNITED sTATEs oF AMERICA, * O~EU US- Gl?:?t»“¢=t?mg{;m
W!D C.’- m treaties
Plaintiff, *
v. * cr. No. 05-20076_13
RITA WILLIAMSON, *
Defendant. *

 

ORDER GRANTING DEFENDANT'S MOTION TO WAIVE
APPEARANCE A'I` REPORT DATE

 

The Defendant is set for a report date before the Court in the above-captioned matter, as Well
as in Case No. 05-20077, for Monday, -.Tuly 25, 2005 , at 9:30 a.m.

For good cause shown, the Defendant’s request to Waive her appearance at the report date
set as to Case Nos. 05~20076 and 05-20077 is hereby GRANTED.

The Defendant shall not be required to appear at the above report dates and shall remain on
her present bond.

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rt is so oRDERED. This the 20 day orally 2005.

H or ble J.DanielBreen \
nite States District Judge

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:05-CR-20076 Was distributed by faX, mail, or direct printing on
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ENNESSEE

 

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Honorable J. Breen
US DISTRICT COURT

